           Exhibit C




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                          UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS
                                KANSAS CITY DIVISION

In re:                                  )
                                        )
JOHN Q. HAMMONS FALL 2006, LLC, et al., )                     Case No. 16-21142-11
                                        )
     Debtors.                           )                     (Jointly Administered)
                                        )

  J.D. HOLDINGS, LLC’S FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS
   AND ELECTRONICALLY STORED INFORMATION TO UBS SECURITIES LLC
         Pursuant to Fed. R. Bankr. P. 9014(c), Fed. R. Bankr. P. 7034, and Fed. R. Civ. P. 34, J.D.

Holdings propounds the following requests for production of documents and electronically stored

information to UBS Securities, LLC (hereinafter “UBS”). The documents and electronically

stored information shall be produced at the office of the undersigned counsel for inspection on

June 11, 2018.

                            I. DEFINITIONS AND INSTRUCTIONS

         1.      As used herein, the term “Agreement” refers to the September 14, 2016 letter

agreement entered into by UBS Securities, LLC (“UBS”) and the John Q. Hammons Revocable

Trust dated December 28, 1989 as Amended and Restated (the “Trust”).

         2.      As used herein, the term “Debtors” means each and every debtor listed in Schedule

1 of the Joint and Consolidated Chapter 11 Plans Of Reorganization For All Debtors File By

Creditor J.D. Holdings, LLC, including subsidiaries and affiliates thereof.

         3.      As used herein, the term “documents” means documents and electronically stored

information as described in Fed. R. Civ. P. 34(a)(1).

         4.      All documents and electronically stored information shall be produced in

accordance with Fed. R. Civ. P. 34(b)(2)(E).




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                              II. REQUESTS FOR PRODUCTION

       1.      All communications between UBS and Stinson Leonard Street LLP relating to

entering the Agreement.

       RESPONSE:



       2.      All communications between UBS and the Debtors relating to entering the

Agreement.

       RESPONSE:



       3.      All UBS internal documents reflecting personnel staffing relating to the

Agreement.

       RESPONSE:




       4.      All market analyses prepared by UBS in providing services under the Agreement

as financial advisor to the Trust or any related entity.

       RESPONSE:




       5.       All market analyses prepared by UBS in providing services under the Agreement

as an expert witness for the Trust, counsel for the Trust, or any related entity.

       RESPONSE:




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       6.      All documents relating to performing, reviewing, evaluating, revising, or updating

any appraisals performed by UBS or any other person or entity acting for or on behalf of the Trust.

       RESPONSE:




       7.      All documents reflecting UBS, per paragraph 1(b) of the Agreement, “advising and

assisting the Company in reviewing, analyzing, structuring, formulating and negotiating the

financial aspects” of the Joint and Consolidated Chapter 11 Plans Of Reorganization For All

Debtors File By Creditor J.D. Holdings, LLC.

       RESPONSE:




       8.      All documents reflecting UBS, per paragraph 1(c) of the Agreement, “advising the

Company as a financial advisor with respect to” the Joint And Consolidated Chapter 11 Plans Of

Reorganization For All Debtors File By Creditor J.D. Holdings, LLC.

       RESPONSE:




       9.      All documents reflecting UBS, per paragraph 1(c) of the Agreement, “advising the

Company in connection with negotiations and aiding in the consummation of” the Joint And

Consolidated Chapter 11 Plans Of Reorganization For All Debtors File By Creditor J.D. Holdings,

LLC.

       RESPONSE:




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       10.     All documents reflecting time spent and tasks performed by UBS under the

Agreement as a financial advisor to the Trust or any related entity.

       RESPONSE:




       11.      All documents reflecting time spent and tasks performed by UBS under the

Agreement as an expert witness for the Trust or any related entity.

       RESPONSE:




       12.     All documents reflecting discussion between UBS and the Trust, counsel for the

Trust, or any related entity.

       RESPONSE:




       13.     All documents reflecting discussion, consideration, projection, or calculation by

UBS of any fee under the Agreement.

       RESPONSE:




       14.     All documents reflecting any discussion or analysis of title insurance by UBS

relating to any potential or actual transaction under the Agreement or services under the

Agreement.

       RESPONSE:




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       15.     All communications with the Trust, counsel for the Trust, or any related entity

concerning title insurance as it relates to any potential or actual transaction under the Agreement.

       RESPONSE:




       16.     All communications between UBS and a title insurer relating to any potential or

actual transaction under the Agreement or services under the Agreement.

       RESPONSE:




       17.     All documents reflecting UBS’s review of, input into, or participation in preparing

the Debtors’ Disclosure Statement that was disapproved by the Court’s January 29, 2018 order.

       RESPONSE:




       18.     All analyses, data, financial projections, and asset valuations provided by UBS to

the Trust or any related entity pursuant to providing services or otherwise under the Agreement.

       RESPONSE:




       19.     All documents reflecting a UBS projected profit analysis based on fee paid under

the Agreement.

       RESPONSE:




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Dated: May 9, 2018.                   Respectfully submitted,  
 
                                      GERMAN MAY PC

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